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UN|TED STATES BANKRUPTCY COURT

DlSTR|CT OF MAR¥LAND
GREENBELT D|VlSlON
|N RE: BCN#: 19-15237
ANNIE WORMELY JUNlUS
Debtor Chapter: 7

 

U.S. BANK NAT|ONAL ASSOC|AT|ON, AS
|NDENTURE TRUSTEE, FOR C|Nl TRUST
2016-4, MORTGAGE-BACKED NOTES, N|OT|ON FOR ORDER GRANT|NG REL|EF
SER|ES 2016-4 FROM AUTOMAT|C STAY
and its assignees and/or
successors in interest,
Nlovant/Secured Creditor,
v.
ANN|E WORMELY JUNlUS
Debtor
Respondents

COMES NOW, U.S. BANK NAT|ONAL ASSOC|AT|ON, AS |NDENTURE
TRUSTEE, FOR C|M TRUST 2016-4, l\/|ORTGAGE-BACKED NOTES, SER|ES 2016-4,
its assignees and/or successors in interest, (l\/|ovant herein), by Counsel, alleges as
follows:

1. This Court has Jurisdiction over this proceeding pursuant to 28 U.S.C.
Sections 157 and 1334 and 11 U.S.C. 362; Federa| Rule of Bankruptcy Procedure
9014; and Loca| Bankruptcy Ru|e 4001-1(a), and that this matter is a core proceeding.

2. The above named Debtor(s) filed a Chapter 7 Petition in Bankruptcy with
this Court on Apri| 17, 2019.

3. The l\/lovant is the current payee of a promissory note secured by a Deed
of Trust upon a parcel of real property with the address of 5058 Blenny Court, Waldorf,
MD 20603 and more particularly described in the Deed of Trust dated August 17, 2005
and recorded at Book 05422 at Page 0539, among the land records of the County of

Charles, Nlaryland:

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LOT NUMBERED F|FTY~E|GHT (58) |N THE SUBD|V|SiON KNOWN AS

"ST. CHARLES COiV|NiUNiT|ES, LANCASTER/DORCHESTER

NElGHBORHOOD/PARCEL "A", SHEET 3 OF 5", AS PER PLAT THEREOF

RECORDED AiViONG THE LAND RECORDS OF CHARLES COUNTY,

MARYLAND |N PLAT BOOK DGB 36 AT PLAT NO. 5.

Copies of the Note and Deed of Trust are attached hereto, marked as exhibits A
& B and made a part hereof by reference

4. This Movant is informed and beiieves, and based upon such information
and belief, alleges that title to the subject Property is currently vested in the name of the
Debtor(s).

5. The Debtor intends to surrender the subject property according to the

Statement of intent filed with this Court on April 17, 2019.

6. As of April 19, 2019, the estimated outstanding obligations are:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Unpaid Principa| Balance $ 272,727.06
Unpaid, Accrued interest $ 17,428.25
Unco||ected Late Charges $ 0.00
Nlortg§g§ insurance Premiums $ 0.00
Taxes and insurance Payments on behalf of Debtor $ 1,510.70
Other Costs $ 3,565.32
Less: Partia| Payments ($ 0.00)
Minimum Outstanding Obligations $ 295,231.33
7. The Debtor is in default with regard to payments which have become due
under the terms of the aforementioned note and Deed of Trust.
As of April 19, 2019, the Debtor is due for:
Number of From To Month|y Tota| Missed
Missed Payment Payments
Payments Amount
5 Ju|y 1 , 2018 November 1, 2018 $2,675.57 $13,377.85
5 December1, 2018 April 1, 2019 $2,670.94 $13,354.70
Atty Fees and Costs: $931.00

 

 

 

TotalPayments: $27,663.55

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8. The Movant has elected to initiate foreclosure proceedings on the
Property with respect to the subject Deed of Trust, but is prevented by the Automatic
Stay from going fon/vard with these proceedings

9. This Movant is informed and believes, and based upon such information
and belief, alleges that absent this Court's Order allowing this Movant to proceed with
the pending foreclosure, Movant's security will be significantly jeopardized and/or

destroyed.

10. Roger Sch|ossberg, has been appointed by this Court as the Chapter 7
Trustee in this instant Bankruptcy proceeding

11. This Movant is informed and believes and, based upon such information
and belief, alleges that the Debtor has little or no equity in the property.

WHEREFORE, Movant prays for an order granting relief from Automatic Stay,

and for such other relief as the Court deem proper.

Dated: April 26, 2019
SHAP|RO & BROWN, LLP
Attorneys for iV|ovant

By: /s/ RBe Dvson
Wi|liam iVi. Savage, Esquire
Federal |.D. Bar No. 06335
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LAW OFF|CES OF

SHAP|RO & BROWN, LLP

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(703) 449-5800

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Certiticate of Service

| hereby certify that on the 26th day of Apri|, 2019l the following person(s) were served a copy of
the foregoing lVlotion for Order for Relief from Automatic Stay in the manner described beiow:

Via ClVl/ECF E|ectronic Notice:

David M. Gorm|ey

Andrews, Bongar, Gorm|ey & Ciagett, PA Debtor's Attorney
11705 Berry Road, Ste. 202

Wa|dorf, MD 20603

Roger Sch|ossberg Trustee
P.O. Box 2067
Hagerstown, MD 21742

Via First C|ass iVlai|, Postage Prepaid:

Annie Worrnely Junius Debtor
5058 Blenny Court
Wa|dorf, MD 20603

/s/ Renee Dvson

Wi|liam M. Savage, Esquire
Kristine D. Brown, Esquire
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